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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA

            V.                            No. l:21-cr-41“JL-01


ARIA DIMEZZO

                  ORDER AMENDING CONDITIONS OF RELEASE
                    FOR ARIA DIMEZZO AND IAN FREEMAN


       The parties having reached agreement on the pending motions

to amend the conditions of release for Aria DiMezzo and Ian


Freeman, the conditions of release for these two defendants are

amended to allow them:


  A. To be present together in person at the same physical
     location, 73 Leverett Street, Keene, New Hampshire, for the
     broadcast of Free Talk Live, half an hour before, during,
       and half an hour after, each broadcast.

  B. To co-host the Free Talk Live show together.

  C. To talk about any subject during Free Talk Live, except the
       pending charges.

  D. To communicate at any time in person, by email, or by text
     message regarding the broadcast of Free Talk Live,
     technical issues, staffing, content, or any other matter
       reasonably related to the broadcast of FTL. Aria DiMezzo
       will provide notice to the probation officer supervising
       DiMezzo's pretrial release any time DiMezzo will be
       physically present with Ian Freeman.

  E. None of these conditions of release are intended to, and do
       not, modify Ian Freeman's conditions of release related to
       home detention.

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pev

                 Z^Z-        UNITED STATES MAGISTRATE JUDGE
